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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FEDERAL TRADE COMMISSION et al.,
                Plaintiffs,

                 v.                                       CIVIL ACTION
 THOMAS JEFFERSON UNIVERSITY et                           NO. 20-01113
 al.,
                Defendants.


                                                             December 14, 2020

                                       ORDER

      Pursuant to the stipulated terms of a February 28, 2020 temporary restraining

order (ECF 11), Defendants may consummate their proposed merger after 11:59 p.m. on

Tuesday December 15, 2020, seven calendar days after the Court’s ruling that

dismissed the Government’s Complaint seeking a preliminary injunction barring the

merger. (ECF 277 and 278.) On December 9, the Government filed an Emergency

Motion for Injunction Pending Appeal. (ECF 279.) On December 10, the Government

filed a Notice of Appeal (ECF 280) and on December 11, it filed an Emergency Motion

for an Injunction Pending Appeal with the Third Circuit. (3d Cir. Case No. 20-3499,

ECF 5-1.) The parties have since consented to the entry of an order temporarily

extending the February 28, 2020 TRO until 11:59 p.m. on Monday, December 21, 2020

pending a determination with respect to the Government’s Emergency Motions. See

(ECF 284.) They have advised the Third Circuit of their consent to such a ten-day

extension and ask the Court to enter an administrative order reflecting their agreed-

upon extension. (Id.)

      AND NOW, this 14th day of December, 2020, it is ORDERED that:
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        1.       Consistent with the parties’ agreement, the February 28, 2020 TRO (ECF

11) is AMENDED to bar consummation of the Defendants’ merger until 11:59 p.m. on

Monday, December 21, 2020; and

        2.      The Government’s Emergency Motion for Injunction Pending Appeal

(ECF 279), is DENIED. 1

                                                                 BY THE COURT:

                                                                  /s/ Gerald J. Pappert
                                                                 ________________________
                                                                 GERALD J. PAPPERT, J.



1        An amendment to the terms of the TRO does not materially alter the status of the case on
appeal, while the Government’s requested injunctive relief does not permit the Court to maintain the
status quo as of the time of the appeal. The Government’s emergency motion effectively requests a
preliminary injunction where none has issued, a request arguably “beyond the ambit” of Federal
Rule of Civil Procedure 62(d). United Parcel Serv. v. United States Postal Serv., 475 F. Supp. 1158,
1162-63 (E.D. Pa. 1979). Cf. George S. Hofmeister Family Tr. v. Trans Indus. of Indiana, Inc., No.
06-13984, 2007 WL 128932, at *2 (E.D. Mich. Jan. 12, 2007) (denying a Rule 62(d) motion where the
relief sought was “total reconsideration which bears no resemblance to preserving the status quo or
the more forgiving rule of preserving the integrity of the case for appellate proceedings”). In United
Parcel Service the district court considered the converse scenario, a request under then-Rule 62(c),
now Rule 62(d), to dissolve or suspend an injunction that the district court had granted pending an
appeal. Id. The court explained that “far from preserving the status quo, an order dissolving or
suspending the injunction would significantly alter it” and therefore the “the relief sought by the
Postal Service [was] beyond the ambit of” the Rule. Id. at 1164. Here too, although the
Government’s request would preserve the integrity of the appeal, it would require the Court to alter
the status quo. There is presently no preliminary injunction in place for the Court to modify. Cf.
Ortho Pharm. Corp. v. Amgen, Inc., 887 F.2d 460, 464 (3d Cir. 1989) (“in furtherance of preserving
the integrity of the appeal, an order entered under Fed. R. Civ. P. 62(c) to modify a preliminary
injunction may alter the status quo”) (emphasis added). And while Rule 62(d) gives the Court
jurisdiction to issue an injunction staying a case pending appeal, the rule seeks to “secure the
opposing party’s rights,” here the Defendants’ rights, not those of the Government. Fed. R. Civ. P.
62(d) (emphasis added).

        If, in the alternative, the Government’s emergency motion seeks reconsideration of the legal
merits of its claims, the motion must be “denied for want of jurisdiction . . . .” United Parcel Serv.,
475 F. Supp. at 1164; see also McClatchy Newspapers v. Cent. Valley Typographical Union No. 46,
Int’l Typographical Union, 686 F.2d 731, 734 (9th Cir. 1982) (holding Rule 62(d)’s predecessor, “Rule
62(c) does not restore jurisdiction to the district court to adjudicate anew the merits of the case after
either party has invoked its right of appeal and jurisdiction has passed to an appellate court”) “As a
general rule, the timely filing of a notice of appeal is an event of jurisdictional significance,
immediately conferring jurisdiction on a Court of Appeals and divesting a district court of its control
over those aspects of the case involved in the appeal.” Venen v. Sweet, 758 F.2d 117, 120 (3d Cir.
1985) (citing Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)) (further citations
omitted).


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